IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

JOHN L. HICKS,

Plaintiff,
Vv. 1:19-cv-115

MICHEAL JOHNSTON

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Defendant.

VERDICT
We, the jury in the above-styled case, do unanimously find as

follows:

1. Did Mr. Johnston infringe Mr. Hicks’ rights in violation
of the Eighth Amendment of the United States Constitution?

No

(Yes or No)

If you answer this issue “Yes," then you must proceed to
Issues 2 and 3. If you answer this issue “No,” then your
deliberations are concluded. The foreperson should date and sign
the verdict sheet.

2. What amount in damages is Mr. Hicks entitled to recover,
if any, as a result of Mr. Johnston’s violation of Mr.

Hicks’ Eighth Amendment rights?
nN

(Amount )

3. What amount of punitive damages, if any, do you the jury
in your discretion award Mr. Hicks?

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(Amount )

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This the (jth day of April, 2023.

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